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January 16, 2025

VIA ECF

Hon. Lewis J. Liman
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

Re:      Freeman et al. v. Giuliani, No. 24-mc-353 (LJL), No. 24-cv-6563 (LJL)

Dear Judge Liman:

        Plaintiffs Ruby Freeman and Wandrea’ Moss, Defendant Rudolph W. Giuliani, and Intervenor
Andrew Giuliani (collectively, the “Parties”) respectfully submit this letter-motion to inform the Court
that Plaintiffs and Defendant have executed a settlement agreement (“Agreement”) that, once certain
conditions are met, would fully resolve all issues currently scheduled for trial, including the claims of
Intervenor Andrew H. Giuliani, and would result in the conclusion of all litigation currently pending
between and among the Parties.

       Accordingly, the Parties respectfully request that the Court adjourn the trial scheduled for January
21, 2025, and the continued contempt hearing currently scheduled for January 29, 2025, to dates on or
after February 25, 2025, to permit the Parties to fully implement the Agreement. The Parties will
promptly notify the Court upon full satisfaction of the terms of the Agreement.

       Plaintiffs have not previously sought any requests for adjournment of the trial date. Defendant
has made one such request, No. 24-cv-6563, ECF No. 91, which the Court denied orally during a hearing
on November 26, 2024 and memorialized in a subsequent written order, No. 24-cv-6563, ECF No. 104.
Other than the appearances described above, no other appearances are currently scheduled.

                                                      Respectfully submitted,

      s/ Joseph M. Cammarata*                         s/ Aaron E. Nathan

      Counsel for Defendant                           Counsel for Plaintiffs



      s/ Scott B. McBride*

      Counsel for Intervenor
      in No. 24-mc-353




*Electronic signatures affixed with permission.
